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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF LOUISIANA
In re: Oil Spill by the Oil Rig               *         MDL No. 2179
“Deepwater Horizon” in the Gulf               *
of Mexico on April 20, 2010                   *         SECTION “J”
                                              *         JUDGE BARBIER
This Document Relates to:                     *
Nos. 10-2179; 10-4536                         *
                                              *         MAGISTRATE NO. 1
                                              *         MAGISTRATE SHUSHAN
*    *   *   *   *   *   *   *   *   *    *   *

                        ANADARKO’S OPPOSITION TO THE
                  UNITED STATES’ MOTION IN LIMINE TO EXCLUDE
                 LEGAL OPINION TESTIMONY OF DR. DAVID SUNDING

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I.      INTRODUCTION

        This Court is charged with weighing eight penalty factors to tailor a Clean Water Act

penalty against Anadarko that achieves the Act’s goals of punishment and deterrence. See Tull v.

United States, 481 U.S. 412, 426–27 (1987). Despite the novelty of the Government’s effort to

impose a substantial penalty on a non-operating investor, Anadarko does not plan to put on a

complicated or lengthy defense at the upcoming bench trial. One reason for that is the Court’s

ruling that Anadarko is not culpable as a matter of law. Owing to that ruling, Anadarko needs

little evidence to show that the penalty the Government seeks will not achieve the goal of pun-

ishment because a penalty, by definition, is a remedy “intended to punish culpable individuals.”

Id. at 422 (emphasis added). That leaves the goal of deterrence, which will be addressed at trial

by one of Anadarko’s two expert witnesses, Dr. David Sunding, chair of UC Berkeley’s Depart-

ment of Agricultural and Resource Economics.

        The Government has moved to exclude much of Dr. Sunding’s testimony. It objects to

his explanation of three economic approaches to deterrence (optimal, absolute, and efficient de-

terrence) and his opinion that, as a matter of economics, a substantial penalty against Anadarko

will mainly deter investment in deepwater exploration and production. Apparently, the Govern-

ment thinks that the Court either cannot consider deterrence at all or must assess deterrence pure-

ly as a matter of law, without hearing from an economist. See Mot. 6–7 (contending that Dr.

Sunding’s testimony on deterrence “substitute[s] his judgment for the provisions of law compris-

ing the OPA and the CWA” and that “testimony concerning economic theory” is “impermissible

legal testimony”). Either way, the Government’s objection is untenable.

        The Government should agree that deterrence is one of the goals of Clean Water Act

penalties. The Supreme Court has said it. See Tull, 481 U.S. at 422–23. So has this Court. See

Rec. Doc. 5446 at 20 (citing cases). And many times the Government has cited—to this Court in


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this case—the deterrent purpose of Clean Water Act penalties. See, e.g., Rec. Doc. 4840 at 1, 5,

6; Rec. Doc. 6436-1 at 20; see also U.S. ex rel. Adm’r of E.P.A. v. CITGO Petroleum Corp.,

723 F.3d 547, 553–54 (5th Cir. 2013) (noting the Government’s argument that a penalty award

“contravene[d] the purpose of civil penalties under the CWA—punishment and deterrence”).

         Because any penalty “must be shaped by considerations contained within the Act,” Unit-

ed States v. Sheyenne Tooling & Mfg. Co., Inc., 952 F. Supp. 1420, 1422 (D.N.D. 1996), and be-

cause deterrence is one of those considerations, the Court can listen to an economist opine that

the penalties the Government seeks against Anadarko will not achieve deterrence. At the very

least, Dr. Sunding’s opinions about economic theory and the consequences of penalizing Ana-

darko present “other matters” the Court can consider “as justice may require.”          33 U.S.C.

§ 1321(b)(8). In assuming Dr. Sunding will “invade the province of the Court,” Mot. 1, the

Government ignores this Court’s warning “that this is a bench trial and that they should use great

caution in filing” motions to exclude expert testimony, Order, Rec. Doc. 12688 at 5, n. 7. Even

if there were a risk that Dr. Sunding’s testimony would stray from economics into the law, the

Court remains well positioned to guard its role as arbiter of the statutory penalty factors and ul-

timate decider of “the amount of penalty, if any.” Tull, 481 U.S. at 427 (emphasis added).

II.      THE APPLICABLE LEGAL STANDARDS.

         The Government’s recitation of the applicable evidentiary standards is incomplete. See

Mot. 2–4. Federal Rule of Evidence 704 does not prohibit any testimony, let alone expert testi-

mony, “render[ing] conclusions of law.” Mot. 2. The only thing Rule 704 prohibits is excluding

testimony “just because it embraces an ultimate issue.” Fed. R. Evid. 704(a). In abolishing the

common-law “ultimate issue” rule, Rule 704 clarifies that other rules—Rules 702 and 403, in

particular—govern the admissibility of expert testimony. “These provisions afford ample assur-




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ances against the admission of opinions which would merely tell the jury what result to reach.”

Fed. R. Evid. 704 advisory committee’s note.

       Under those rules, the test for admitting expert testimony is not whether it “invades the

province of the Court,” as the Government asserts. Mot. 1, 5. That formulation is just “empty

rhetoric.” Fed. R. Evid. 704 advisory committee’s note (internal quotation marks and citation

omitted). The actual test is whether expert testimony is “helpful to the trier of fact” per Rule 702

and whether it “wastes time” per Rule 403. Id. Because Anadarko’s focused case will not waste

the Court’s time, the only question posed by the Government’s motion is whether the “legal”

portions of Dr. Sunding’s report, if any, are helpful.

       The mere mention of a legal conclusion by an expert does not automatically render his or

her testimony unhelpful. Expert testimony can encompass legal conclusions for many reasons.

They can help the judge or jury “understand what the witness has to say and relate it to the

facts.” 29 Wright & Gold, Fed. Prac. & Proc. § 6284 p. 381 (1st ed. 1997). And the bar on tes-

timony about “purely legal matters” does not extend “to legal matters that involve questions of

fact.” Waco Int’l, Inc. v. KHK Scaffolding Houston Inc., 278 F.3d 523, 532–33 (5th Cir. 2002).

         Dr. Sunding’s testimony falls well within this permissible scope. In his reports, he re-

cited legal aspects of the Clean Water Act to provide context for his expert economic opinions

and relate them to this case. See p. 5, infra. Dr. Sunding noted the history and (indisputable)

purposes of Clean Water Act penalties, then explained how the Court can exercise its discretion

to weigh the eight statutory penalty factors with deterrence in mind. At trial, Anadarko will not

call Dr. Sunding to testify about the history, purposes, or proper legal interpretations of federal

law, all topics he has disavowed as outside his expertise. See, e.g., Sunding Round 1 Report at 2

n.1, 5 n.14; Sunding Dep. 144:22–24, 151:12–15.




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       Any doubts about Dr. Sunding’s testimony should be resolved in Anadarko’s favor.

“Most of the safeguards provided for in Daubert are not as essential in a case such as this where

a district judge sits as the trier of fact in place of a jury.” Gibbs v. Gibbs, 210 F.3d 491, 500 (5th

Cir. 2000); see Thompson v. Rowan Cos., Inc., No. CIV.A. 06-3218, 2007 WL 724646, at *1

(E.D. La. Mar. 6, 2007) (Barbier, J.) (citing Gibbs). Protecting juries is why courts exclude ex-

pert testimony on purely legal matters: such testimony by a single expert risks duping a jury into

believing the expert is “more reliable than the judge” on questions of law, and such testimony by

dueling experts “would only confuse the jury” about what the law is. Askanase v. Fatjo, 130

F.3d 657, 673 (5th Cir. 1997) (favorably citing Specht v. Jensen, 853 F.2d 805, 807 (10th Cir.

1988)). In a bench trial, neither of those problems can surface. See In re Omni Energy Servs.,

No. CIV.A. 01-3246, 2002 WL 34381143, at *1 (E.D. La. Sept. 5, 2002) (Barbier, J.) (denying a

motion to exclude an expert’s supposedly “legal” testimony from a bench trial because “the

Court will not allow [an expert] to testify on matters beyond his area of expertise and what is

helpful to the fact-finder, and will disregard any legal conclusions to which he testifies”). 1

III.   DR. SUNDING’S OPINIONS ARE COMPLETELY ECONOMIC.

       Dr. Sunding is a highly qualified economist. He has broad expertise in environmental

and resource economics and with Clean Water Act penalties and regulations. See Sunding

Round 1 Report at 1; see also id. at App. 1, App. 3. Dr. Sunding has advised EPA on Clean Wa-

ter Act penalties and has testified before Congress on the incentive effects of environmental laws

1
        The Government’s motion does not acknowledge that the upcoming trial is a bench trial.
Almost every opinion the Government cites on excluding legal testimony, see Mot. 2–4, in-
volved a jury trial—a critical fact the Government not only passively ignores, but actively buries,
see id. at 4 (replacing the word “jury” with the word “fact-finder” in one quotation). One cited
case involved a bench trial, but unlike here, expert reports at issue there “consist[ed] of nothing
more than legal arguments.” Snap-Drape, Inc. v. CIR, 98 F.3d 194, 198 (5th Cir. 1996) (empha-
sis added); see 29 Wright & Gold, Fed. Prac. & Proc. § 6284, p. 381 (1st ed. 1997) (“[A]n opin-
ion that merely states a legal conclusion … will not ‘assist’ under Rule 702.”).


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and penalties. See id. His work was cited prominently by the United States Supreme Court in

one of the most important Clean Water Act decisions in decades. See Rapanos v. United States,

547 U.S. 715, 721 (2006) (plurality); id. at 798 (Stevens, J., dissenting).

         Applying his expertise, Dr. Sunding has rendered five main opinions relevant to the Gov-

ernment’s unprecedented attempt to impose substantial penalties on Anadarko, a non-culpable,

non-operating investor in a deepwater drilling operation.

             •   First, Clean Water Act penalties against Anadarko are not needed to achieve eco-
                 nomically optimal deterrence (because Anadarko’s liability for damages under
                 the Oil Pollution Act accomplishes that by itself) or absolute deterrence (because
                 the Government has conceded that Anadarko obtained no benefit from the Ma-
                 condo blowout). See Sunding Round 1 Report at 4–6.

             •   Second, imposing substantial penalties on Anadarko will not achieve efficient de-
                 terrence and could be counter-productive. See id. at 6–8.

             •   Third, imposing civil penalties on a non-culpable, non-operating investor will de-
                 ter investment in deepwater exploration and production in the Gulf and have an
                 adverse impact on the economies of Gulf States. See id. at 9, 14–16.

             •   Fourth, observable trends—namely, increased exit and decreased entry of non-
                 operating investors and increased concentration of ownership within deepwater
                 leases—are consistent with Dr. Sunding’s theory that non-operators are being de-
                 terred by potential liability for civil penalties. See id. at 10–14.

             •   Fifth, to tailor a Clean Water Act penalty against Anadarko that achieves deter-
                 rence, the culpability and economic benefit factors should be given the most
                 weight. See id. at 6, 16–19; Sunding Round 3 Report at 6.

IV.      THE GOVERNMENT’S MOTION IN LIMINE LACKS MERIT.

         The Government asks the Court to exclude almost all of Dr. Sunding’s testimony—Parts

I and III of his Round 1 report and Parts I, II, and III of his Round 3 report, which cover the first,

second, and fifth opinions above. See Proposed Order, Rec. Doc. 13764-2. All of the challenged

portions of those reports are admissible.




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       A.      Dr. Sunding Can Testify About Deterrence And Its Consequences.

       Dr. Sunding’s testimony about optimal, absolute, and efficient deterrence is nonlegal ma-

terial within the heartland of his economic expertise. He will testify about the economics of de-

terrence to show why imposing a penalty against Anadarko is not necessary to achieve deter-

rence in this case. His opinions are grounded in long-standing fundamental economic theory and

analysis. His testimony is the foundation for the argument that “degree of culpability” and “eco-

nomic benefit” should be the two most important statutory penalty factors in this case. In addi-

tion, Dr. Sunding’s testimony about deterrence and the economic consequences of imposing sub-

stantial penalties on a non-culpable, non-operator are nonlegal matters the Court may consider

under the eighth penalty factor—“other matters as justice may require.” 2

       The Government first targets an introductory portion of Dr. Sunding’s reports where he

paraphrased federal law and noted that one purpose of Clean Water Act penalties is deterrence.

See Mot. 6–7 (citing Sunding Round 1 Report at 3–4). That background is helpful and undisput-

ed in any case. Besides being correct, Dr. Sunding used it to set the stage for his discussion of

the economics of deterrence. And even if it were objectionable, it does not taint any other part of

Dr. Sunding’s testimony. The Government’s attempt to exclude all of Dr. Sunding’s testimony

simply because he introduced it with illustrative “legal conclusions” is a blatant overreach.

       When trying to take Dr. Sunding’s testimony about deterrence head on, the Government

accuses him of saying things he has not said. It characterizes his testimony as “inconsistent with

the statutory scheme” because he supposedly made legal determinations about the requirements

2
       The Government tacitly acknowledges this point by not moving to exclude Dr. Sunding’s
econometric analyses. He performed those analyses to show “that the realized trends in deep-
water drilling are consistent with [his] argument on efficient deterrence—that real world events
do not rule out [his] hypothesis.” Sunding Round 3 Report at 7. It makes no sense for the Gov-
ernment to strike Dr. Sunding’s hypothesis about consequences (Part I of his Round 1 report) yet
leave unchallenged his supportive analyses (Part II).


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for imposing a Clean Water Act penalty against any party in any case. Mot. 7. That accusation

is false. Staying within his economic expertise, Dr. Sunding concluded that optimal deterrence

and absolute deterrence do not require a penalty against Anadarko in this case. See Sunding

Round 1 Report at 5 (concluding that a penalty against Anadarko “would result in over-

deterrence above the optimal level”); id. at 6 (concluding that a penalty against Anadarko is not

needed to achieve absolute deterrence). Dr. Sunding expressly declined to take a position on

what level of deterrence federal law sets, id. at 5 n.14 & 6, although he opined that it could be

inefficient and counterproductive to make a non-culpable, non-operating investor pay a portion

of those penalties, id. at 8. Thus, Dr. Sunding has not “articulat[ed] the meaning of the Clean

Water Act … under the guise of economic theory.” Mot. 9.

       In a surprising twist, the Government also contends that Dr. Sunding’s “legal” opinions

should be excluded because his legal research and analysis were not thorough enough. The Gov-

ernment complains, for example, that Dr. Sunding did not address all “legislative history or Con-

gressional intent,” Mot. 8, that he does not know this Court’s views on public policy, id. at 8–9,

and that he did not do enough case law research, id. at 9. That just proves our point. Dr.

Sunding is not even rendering a legal opinion in the first place.

       The Government’s other challenges to Dr. Sunding’s testimony about deterrence are, at

most, cross-examination points improperly packaged in a motion in limine. See Daubert v. Mer-

rell Dow Pharms., Inc., 509 U.S. 579, 596 (1993) (holding that “vigorous cross-examination” is

one of “the traditional and appropriate means of attacking” expert testimony). At trial, the Gov-

ernment may ask Dr. Sunding whether his opinions about efficient deterrence and transaction

costs would be different if “parties could agree to an indemnification clause for damages but not

one for penalties.” Mot. 8. Similarly, the Government can try to demonstrate that his lack of




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first-hand involvement in Anadarko’s settlement with BP undermines his conclusion that the set-

tlement “constitutes a ‘reasonable assessment’ ” of Anadarko’s share of OPA damages. Id. at 7.

What the Government has not shown, and cannot show, is why cross-examining Dr. Sunding on

these points at trial would be so prejudicial that the Court should exclude his testimony now.

       This case is materially unlike Tyson v. Amerigroup, No. 02-C-6074, 2007 WL 7034899

(N.D. Ill. Jan. 30, 2007). Tyson was a False Claims Act case, and the court excluded the opinion

of an economics professor who spent “a great deal of time” attacking a jury verdict before opin-

ing that statutory treble damages were over-deterrent and therefore unconstitutionally excessive

under the Eighth Amendment. See id. at *1. Although the reasoning of the unpublished Tyson

order is slim, the court appears to have concluded that the professor’s testimony about deterrence

would not help the court decide whether, as a constitutional matter, mandatory treble damages

were “grossly disproportionate to the gravity of the defendant’s offense,” an inquiry that does not

turn on deterrence. United States v. Bajakajian, 524 U.S. 321, 327–28 (1998) (articulating the

Eighth Amendment standard for excessive fines). Here, by contrast, Congress has given the

Court discretion to tailor Anadarko’s civil penalty to achieve deterrence.

       In the end, if the Government thinks federal law requires or allows the Court to impose a

substantial penalty on Anadarko for some reason other than deterrence, or merely disagrees with

Dr. Sunding’s opinions about deterrence, the Government can make those arguments. But nei-

ther is a reason to strike Dr. Sunding’s explanation of the economics of deterrence and his opin-

ions that imposing a substantial penalty on Anadarko here would not serve a deterrent purpose.

       B.      Dr. Sunding Can Relate His Opinions To The Statutory Penalty Factors And
               Can Walk Through The Evidence Pertaining To Each Factor.

       Dr. Sunding concluded his report by refuting the Government’s threadbare contentions

that imposing substantial penalties on Anadarko will achieve deterrence. See Sunding Round 1



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Report at 16 (noting that penalizing non-culpable non-operators disincentivizes investment and

could deter future spills “only by reducing the number of actual operations, not by making them

safer”). Like his affirmative testimony about deterrence, Dr. Sunding’s rebuttal testimony about

deterrence is fundamentally economic, not legal. It should not be excluded.

       Because this Court must decide what weight to give the statutory penalty factors in this

case, see Sierra Club, Lone Star Chapter v. Cedar Point Oil Co. Inc., 73 F.3d 546, 574 (5th Cir.

1996), Dr. Sunding walked through the factors to illustrate his economic conclusion that culpa-

bility and economic benefit are the most important factors for achieving deterrence against Ana-

darko, see Sunding Round 1 Report at 16–20. Contrary to the Government’s suggestion, Dr.

Sunding did not “read[] a culpability requirement into” the Clean Water Act or rely on legal

judgments, like a lawyer might, to conclude that “degree of culpability” (a factor Congress wrote

into the statute) and “economic benefit” are the two most important factors in Anadarko’s case.

See Mot. 7; see also id. at 5 (citing Snap-Drape). Dr. Sunding reached his case-specific conclu-

sions via economic judgments alone. See Sunding Round 1 Report at 6, 8 (explaining how, giv-

en case-specific circumstances, degree of culpability is the factor most material to achieving effi-

cient deterrence in this case and economic benefit is most material to achieving absolute deter-

rence). If more were needed to show that Dr. Sunding’s opinions about the penalty factors are

economic, not legal, one need only read the footnotes in his reports, where he forswore making

legal conclusions about whether a nonzero penalty must be imposed. 3


3
        The Government’s observation that culpability does not matter to the threshold question
of liability is a non sequitur. See Mot. 7 (contending that “Dr. Sunding reads a culpability re-
quirement into CWA § 311(b), a strict liability provision that does not depend on fault”). The
question now is what the penalty amount should be. The Clean Water Act’s penalty factors re-
quire the Court to consider “degree of culpability” to answer that question. Insofar as the Gov-
ernment contends that the Court must impose a non-zero penalty on Anadarko simply because
Anadarko is strictly liable, that contention is inconsistent with Tull. The penalty provision at is-
                                                                       (footnote continued on next page)


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        By virtue of his experience in other Clean Water Act penalty cases, Dr. Sunding is also

qualified to review the evidence pertaining to the other statutory penalty factors. See Sunding

Round 1 Report at 1; see also id. at App. 1, App. 3. The Government’s motion makes it seem

extraordinary that an expert like Dr. Sunding could discuss the penalty factors, but expert wit-

nesses have done so before. See, e.g., United States v. Smithfield Foods, Inc., 191 F.3d 516, 523

(4th Cir. 1999) (noting that the district court had “heard from both sides’ experts who opined on

the proper calculations for each of the factors to be considered under the CWA’s penalty stat-

ute”). And the Government’s complaint that Dr. Sunding recited record evidence and admis-

sions in connection with the other factors, see Mot. 5–6, is not a reason to exclude his testimony.

If there is something he missed, the Government can bring it up on cross-examination.

        Ultimately, the Government appears to be complaining that Dr. Sunding has touched on

the ultimate issue in this case—what penalty, if any, Anadarko deserves. Rule 704 does not pro-

hibit that testimony. It prohibits the Government’s motion.

V.      CONCLUSION.

        The Government’s motion in limine should be denied in full.


                                               Respectfully submitted,

DATED: December 15, 2014                       MORGAN, LEWIS & BOCKIUS LLP

                                               /s/ James J. Dragna_______________________
                                               James J. Dragna

sue in Tull was a similarly worded strict liability provision, 481 U.S. at 414–15, and the Court
held that a district court, in exercising its discretion to determine “the amount of penalty, if any,”
could choose to impose none, id. at 427. Thus, courts have declined to assess penalties in cases
where penalties would not serve the intent of the Act. See, e.g., Resurrection Bay Conservation
Alliance v. City of Seward, Alaska, No. 3:06–CV–0224–RRB, 2008 WL 508499, at *6 (D. Alas-
ka Feb. 21, 2008) (concluding that civil penalties under Section 309 were “not appropriate” when
the defendant was “technically” liable but not culpable; the Clean Water Act “was not intended
to prohibit responsible use of the resource or to make such use cost prohibitive.”).


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                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that, pursuant to Pre-trial Order No. 12, I have caused the fore-

going to be served on all counsel via the Lexis Nexis File & Serve system, and that the

foregoing was electronically filed with the Clerk of Court of the United States District Court

for the Eastern District of Louisiana by using the CM/ECF system, who will send a no-

tice of electronic filing in accordance with the procedures established in MDL 2179, on De-

cember 15, 2014.

                                                          /s/ James J. Dragna
                                                          James J. Dragna




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